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§/412019 3:06 PM
Marilyn Burgess - District Clerk Harris County

2019-31371 / Court: 133 “By: Mlnega Hutchinson

Filed: 5/6/2019 12:00 AM

NO.
MACRINA FLORES § IN THE DISTRICT COURT
Plaintiff, §
§
$
Vv § JUDICIAL DISTRICT
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§
WAL-MART STORES TEXAS, LLC §
Defendant. § HARRIS COUNTY, TEXAS

PLAINTIFF’S ORIGINAL PETITION WITH REQUEST FOR DISCLOSURES
TO THE HONORABLE JUDGE OF SAID COURT:

NOW COMES, Macrina Flores. hereinafter called Plaintiff, complaining of and about
Wal-Mart Stores Texas, LLC hereinafter called Defendant, and for cause of action show unto the
Court the following:

DISCOVERY CONTROL PLAN LEVEL

I. Plaintiff affirmatively pleads that she seeks monetary relief of $200,000.00 to
$1,000,000.00, including damages of any kind, penalties, costs, expenses, pre-judyment interest
and attorney fees and intends that discovery be conducted under Discovery Level 2.

PARTIES AND SERVICE

2s Plaintiff, Macrina Flores, is an individual who resides in Mexico.

3. Defendant WAL-MART STORES TEXAS, LLC, a Corporation based in Texas,
is organized under the laws of the State of Texas, and service of process on the Defendant may
be effected pursuant to article 2.11(A) of the Texas Business Corporation Act. or its successor
statute, sections 5.201 and 5.255 of the Texas Business Organizations Code, by serving the
registered agent of the corporation, CT Corporation System, at CT Corporation System, at 1999

Bryan St.. Suite 900, Dallas, Texas 75201, its registered office. Service of said Defendant as
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described above can be effected by personal delivery.

JURISDICTION AND VENUE

4, The subject matter in controversy is within the jurisdictional limits of this court.

5. This court has jurisdiction over the parties because Detendant is a Texas
corporation.

6. Venue in Harris County is proper in this cause under Section 15.002(a)(t) of the

Texas Civil Practice and Remedies Code because all or a substantial part of the events or
omissions giving rise to this lawsuit occurred in this county.
“FACTS
7. On or about December 7, 2017, Plaintiff was shopping on the premises of the
Defendant when she slipped and fell on a plastic hanger on the ground. As a result of the
accident, Plaintiff sustained serious personal injuries for which she had to seek the care of
medical professionals.
LIABILITY OF DEFENDANT WAL-MART STORES TEXAS, LLC
8. At the time and on the occasion in question, Wal-Mart Stores Texas, LLC,
occupied, controlled, leased, managed, operated, and/or owned Wal-Mart Stores Texas, LLC,
located at 9235 North Sam Houston Parkway East, Humble, Texas 77396. Defendant and its
employees failed to use ordinary care by various acts of omissions and/or commissions,
including but not limited to the following, each of which singularly or in combination, was a
proximate cause of the incident in question:
A, In failing to monitor the condition of the floor in the store,
B. In failing to promptly clean up floor:

C. In failing to properly train its employees:
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D. In failing to store materials and maintain merchandise in a manner to

avoid harm to customers;

E. In failing to warn others that a dangerous condition existed; and
F. In creating a hazard to others.
9, Such negligence, either singularly or in combination, proximately caused

Plaintiff's injuries and resulting damages.
10. Nothing Plaintiff did or failed to do was a proximate or contributing cause of the
incident made the basis of this suit.

PLAINTIFF'S CLAIM OF NEGLIGENCE AGAINST
WAL-MART STORES TEXAS, LLC

tl. Plaintiff incorporates all preceding paragraphs by reference as if set forth in full
herein.

12. Defendant had a duty to Plaintiff because it owns and controls the store at which
the accident took place.

13. Defendant failed to act in accordance with the appropriate standard of care
causing Plaintiff, in invitee, to suffer physical and émotional injuries. Defendant knew or
reasonably should have known of the danger presented when display items are left on the ground
in areas designed for customers to shop. Defendant breached its duty by failing 10 warn Plaintiff
of the condition and failing to make the premises reasonably safe.

14. All of the foregoing acts and omissions on the part of the Defendant constitute a
direct and proximate cause of the injuries suffered and damages incurred by Plaintiff.

PREMISES LIABILTY
15. Plaintiff Macrina Flores was an invitee on the premises in question occupied,

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controlled, leased, managed, operated, and/or owned by Defendant. Defendant knew, or in the
exercise of ordinary care, should have known of an unreasonable dangerous condition existing
on the floor, which posed an unreasonable risk or harm to visitors, including Plaintiff, Macrisa
Flores, but failed to inspect and make safe or adequately warn her of the condition.

16. In the alternative, Plaintiff would show that she was a licensee on the premises in
question occupied, controlled, leased, managed, operated, and/or owned by Defendant.
Defendant knew of an unreasonable dangerous condition existing on the floor, which posed an
unreasonable risk of harm to the yeneral public, including Plaintiff Macrina Flores, but Failed to
make safe or adequately warn her of the condition. Plaintiff was without knowledge of the
dangerous condition of the premises prior to the incident in question.

PROXIMATE CAUSE

17. Each and every, all and singular of the foregoing acts and omissions, on the part
of Defendant, taken separately and/or collectively, constitute a direct and proximate cause of the
injuries and damages set forth below.

DAMAGES FOR PLAINTIFF, MACRINA FLORES

18. As adirect and proximate result of the occurrence made the basis of this lawsuit,
and Defendant's acts as described herein, Plaintiff Macrina Flores was caused to suffer personal
injuries more fully set forth below.

(9. Asadirect and proximate result of the occurrence made the basis of this lawsuit,
Plaintiff, Macrina Flores has incurred the following damages:

a. The physical pain and mental anguish sustained from the date of incident to the
time of verdict herein,

b. The physical pain and mental anguish which, in reasonable medical probability,
will be suffered after the date of verdict herein;
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c. The loss of earnings, or loss of earning capacity, sustained [vom the date of
incident to the time of verdict herein;

d. The reasonable and necessary costs of medical care and treatment, including
doctors, hospitals, nurses, medicines, and other services and supplies from the
date of the collision to the time of verdict herein;

e. The reasonable and necessary costs of medical care and treatment, including
doctors, hospitals, nurses, medicines, and other services and supplies, which, in
reasonable probability will be incurred in the future after the date of verdict
herein;

f. Physical impairment which has been sustained, resulting in lessened use and/or
movement of various parts of Plaintiff's body from the date of the incident to the
date of verdict herein,

g. The physical impairment which, in reasonable probability, will be sustained to
various parts of Plaintiffs body, resulting in lessened use and/or movement of
same in the future after the date of verdict herein;

h. Physical disfigurement which has been sustained, resulting in lessened use and/or
movement of various parts of Plaintiff's body rom the date of the incident fo the
date of verdict herein, and

i. The physical disfigurement which, in reasonable probability. will be sustained to

various parts of Plaintiffs body, resulting in lessened use and/or movement of
same in the future after the date of verdict herein.

20. By reason of the above, Plaintiff, Macrina Flores has suffered losses and damages
in a sum within the jurisdictional limits of the Court and for which this lawsuit is brought.
REQUEST FOR DISCLOSURE
21. Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiffs request that
each and every Defendant disclose, within fifty (50) days of service of this request, the
information and material described in Rule 194.2(a) through (I).
PRESERVING EVIDENCE
22. ‘Plaintiff hereby requests and demand that Defendant preserves and maintains al!

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evidence pertaining to any claim or defense related to the incident made the basis of this lawsuit
or the damages resulting there from, including statements, photographs. videotapes. audiotapes.
surveillance or security tapes or information, business or medical records. incident reports, tenant
files, periodic reports, financial statements, bills, telephone call slips or records. estimates,
invoices, checks, measurements, correspondence, facsimiles, email. voice mail, text messages,
and evidence involving the incident in question, and any electronic image or information related
to the referenced incident or damages. Failure to maintain such items will constitute “spoliation™
of the evidence.
NOTICE OF USE

23. Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Defendant is
hereby notified that Plaintiff intends to use all documents produced by Defendant in response to
written discovery in pretrial proceedings and trial. Defendant is required to assert any objection
to the authenticity of any document Defendant produces within ten days of its production.

DESIGNATED E-SERVICE EMAIL ADDRESS

24. The following is the undersigned attorney's designated e-Service emai! address
for all e+ served documents and notices, filed and unfiled, pursuant to Tex. R. Civ. P. 21(F(2) &
21a: Litigation@TheHadiLawFirm.com. This is the undersigned’s only e-Service email address,
and service through any other email address will be considered invalid.

REQUEST FOR DEPOSITION DATES

25. Pursuant to Rule 199 of the Texas Rules of Civil Procedure, Plaintiff request that

each and every Defendant disclose, within fifty ($0) days of service of this request, dates that

Defendant's Corporate Representative is available for Plaintiff to take Defendant's deposition.
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PRAYER

WHEREFORE, PREMISES CONSIDERED, Plaintiff, Macrina Flores, respectfully
prays that the Defendant be cited to appear and answer herein, and that upon a final hearing of
the cause, judgment be entered for the Plaintiff against Defendant for damages in an amount
within the jurisdictional timits of the Court, together with pre-judgment interest al the maximum
rate allowed by law; post-judgment interest at the legal rate, costs of court; and such other and
further relief to which the Plaintiff may be entitled at law or in equity.

Respectfully submitted,

THe Hao Law Firm

Husein Hadi

Texas Bar No. 24067641

Jamil Thomas

Texas Bar No. 24066914
Cameyie H. Mims, Ill

Texas Bar No. 24046448
Sedrick Stage

Texas Bar No. 24102815

7100 Regency Square Boutevard, Suite 140
Houston, Texas 77036
Telephone: (832) 433-7977
Facsimile: (855) 423-4529
litigation@thehadilawfirm.com
Attorneys for Plaintiff

PLAINTIFF HEREBY DEMANDS TRIAL BY JURY

DATE FILED: May 4, 2019
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eh .
&, CT Corporation

Service of Process

Transmittal
05/09/2019
CT Log Number 535433629
TO: Kim Lundy Se Service of Process, Legal Support Supervisor
Walmart Inc
702 SW 8th St, MS#0215
Bentonville, AR 72716-6209

RE: Process Served in Texas

FOR: Wal-Mart Stores Texas, LLC (Domestic State: DE)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:
BOCUMENT(S) SERVED:

GCOURT/AGENCY:

NATURE OF ACTION:

GN WHOM PROCESS WAS SERVED:
DATE AND HOUR OF SERVICE:
JURISDICTION SERVED :
APPEARANCE OR ANSWER DUE:

ATTORNEY(S) / SENDER(S):

ACTION ITEMS:

SIGNED:
ABDRESS:

TELEPHONE:

Flores Macrina, Pitf. vs. Wal-Mart Stores Texas, LLC, Dft.

Case # 201931371

Personal Injury - Failure to Maintain Premises in a Safe Condition - *

C T Corporation System, Dallas, TX

By Process Server on 05/09/2019 at 10:09

Texas

By 10:00 a.m. on the Monday next following the expiration of 20 days after service

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&

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CT has retained the current log, Retain Date: 05/13/2019, Expected Purge Date:
05/18/2019

Image SOP
Email Notification, Kim Lundy Service of Process ctlawsuits@walmartlegal.com

C T Corporation System
1999 9 Bryan Street

Ballas TX 75201
214-932-3601

Page 1 of 1/ MD

Information displayed on this transmittal is for CT
Corporation's record keeping purposes only and is provided ta
the recipient fer quick reference. This information does not
constitute a legal opinfon as to the nature of action, the
amount of damages, the answer date, or any informatton
contained tn the documents themselves. Reciptent is
responsible for interpreting sald documents and for taking
appropriate action. Signatures on certified mail receipts
confirm receipt of package only, not contents.
Case 4:19-cv-02037 Document 1-2 Filed on 06/06/19 in TXSD Page 9 of 9

* REGED NUMBER 0.00
eho. TRACKING NUMBER 73624758 cL. wees
: ‘CAUSE NUMBER ~ 201931371 ,

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PLAINTIFF: FLORES, MACRINA InThe 133rd
wa. Judicial District Court of
DEPENDANT: WAL-MART STORES TEXAS LLC - . Harris County, Texas
. CITATION CORPO
THE STATS OF TEXAS
County of Borris

TO: WAL-MART STORES TEXAS LLC (CORPORATION) MAY BE SERVED THROUGH ITS
REGISTERED AGENT CT CORPORATION SYSTEM

1999 BRYAN ST SUITE 900 DALLAS TX 75201

 

 

Attached is a copy af
‘This instrament was filed onthe ___ 6th__ day of May »20___19 in the
above cited cause number and court. The instrnment attached describes the claim against you. .

YOU HAVE BREN SUED; you may employ an attorney. if you or your attorney do not flea written answer with the
District Gesk who issued this citation by 10:c0 a.m on the Monday next following the expiration of 20 days after you were
served this citation and petition, a default judgment may be taken against you.

TO OFFICER SERVING:
This Citation was issued under my hand and seal of said Court, at Houston, Texas, this. 7th day of
——May_ 201,
MARILYN BURGESS, District Gerk
Issued at requast of: Harris County, Texas
HADI, HUSEIV 201 Caroline, Houston, Texas 77003

7200 REGENCY SQUARE BLVD, STE P.0.Box 4631, Houston, Texas 77210
140

HOUSTON, TX 77036
TEL: (632) 933-7977

BorNumber: 24067641

  

Generated by: HUTCHINSON, MIAEDA A CCG//11223739

OFFICER/AUTHORIZED PERSON RETURN

Iroceived this citation onthe 8 _dsyaf_ May 2019 at__9_o'tlock AM, endorsed

the data of det hereon, and iter 1899 Bryan Street Suite 900 Dallas Texas 75201

 

 

 

 

 

a Otis? ASTLETD vane

in Dallas County, Texas on the 9 day of May 20.19 at o'clock __M.,

by delivering to_Wal-M Stor CC by delivering to its
CT Corporation System in parson, whose name is _,

 

OEGETERED ACERT, FEXCUEAT, of VICECREUULNT)

a true copy of this citation, with a copy ofthe Petition attached,

 

CEL GP PESTS, 2.0, "ADE CEL

and with accompanying Copies Of ara Wa GRE

 

 

 

tocrtify that the fuets etated in thlo return are true by my signature below on tha__9_ day of May 20,

Printed Name: David Valfer SCH 4688
Miah Tha Oise OP error ——
On this day, , mown to me to be the person whose signature

 

the foreguing return, peared. After being by me duly sworn, he/she stated that this citation was
FE ey etc theremnra, f

SWORN TO AND SUBSCRIBED BEFORE MR, cn this day of » 20.

 

Notary Public

w.THE.CItC.e *73821758"

 
